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                                                            UNITED STATES BANKRUPTCY COURT
                                                                 DISTRICT OF DELAWARE

In re: Legacy IMBDS, Inc.                                                                                                                  Case No. 23-10852 (KBO)
                                                                                                                     Reporting Period: 10/1/2023 through 10/31/2023

                                                                MONTHLY OPERATING REPORT
                                                                          For the Period of:
                                                              October 1, 2023 through October 31, 2023
                                                   GLOBAL NOTES AND STATEMENTS OF LIMITATIONS AND
                                           DISCLAIMERS REGARDING THE DEBTORS’ MONTHLY OPERATING REPORTS

On June 28, 2023, each of ValueVision Media Acquisitions, Inc.; Legacy IMBDS, Inc.; ValueVision Interactive, Inc.; Portal Acquisition Company; VVI Fulfillment Center,
Inc.; ValueVision Retail Inc.; JWH Acquisition Company; PW Acquisition Company, LLC; EP Properties, LLC; FL Acquisition Company; Norwell Television, LLC; and
867 Grand Avenue, LLC (each, a “Debtor”, and, collectively, the “Debtors”) filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code in the United States
Bankruptcy Court for the District of Delaware (the “Chapter 11 Cases”). The Debtors’ Chapter 11 Cases are being jointly administered under lead Case No. 23-10852
(KBO). Each Debtor has filed its own Monthly Operating Report (“MOR”), but these notes are consolidated and include separate notations for each Debtor where
applicable.

Basis of Presentation - The Debtors are filing these MORs solely for the purposes of complying with the reporting requirements applicable in their respective
Chapter 11 Cases. The financial information contained herein is presented on a preliminary and unaudited basis, remains subject to adjustments, and may not
comply in all material respects with generally accepted accounting principles in the United States of America (“U.S. GAAP”). This MOR should not be relied on
by any persons for information relating to the Debtors’ future financial conditions, events, or performance. The financial information has been derived from the
Debtors’ books and records. This information, however, has not been subject to certain procedures that typically would be applied to financial information in
accordance with U.S. GAAP, which procedures could yield materially different financial information. The information furnished in this report primarily includes
normal recurring adjustments, but it does not include all adjustments that typically would be made for financial statements prepared in accordance with U.S.
GAAP, including certain tax-related or other required adjustments. The results of operations contained herein may not necessarily be indicative of expected
results for any other period or for the full year and may not necessarily reflect the combined results of operations and financial position of the Debtors in the
future. The financial statements of the Debtors’ non-debtor affiliates have not been included in the MOR. The Debtors' filed at end of day and any activity in these
reports are presented assuming all activity on the filing date occurred before the Debtor's filed their petitions with the Court.

Liabilities Subject to Compromise - Liabilities subject to compromise (“LSTC”) have been reported at the amounts recorded on the Debtors' books and records as
of the date of the MOR. The amounts classified as LSTC in the financial statements included herein are preliminary and may be subject to future adjustments
depending on developments with respect to, among other things: disputed claims; determinations of the secured status of certain claims; the values of any
collateral securing such claims; rejection of executory contracts; reconciliation of claims; and other events. Scheduled claims are subject to change and
reconciliation to any filed claims, MORs are filed prior to Bar Date. See also Notes to MOR Part 2 (below).

Reservation of Rights - Given the complexity of the Debtors’ businesses, inadvertent errors, omissions, or over-inclusion of amounts may have occurred.
Accordingly, the Debtors hereby reserve all of their rights to dispute the validity, status, enforceability, or executory nature of any claim amount, representation, or
other statement in this MOR. The Debtors reserve the right to amend or supplement this MOR, if necessary, but are under no obligation to do so.


Reporting Period - Unless otherwise noted herein, the MOR generally reflects the Debtors’ books and records and financial activity occurring during the
applicable reporting period. Except as otherwise noted, no adjustments have been made for activity occurring after the close of the reporting period.

Specific MOR Disclosures -

  Supporting Documentation - Statement of capital assets: Please see the Debtors’ balance sheets for information regarding capital assets.
  All bank statements and bank reconciliations for the reporting period: Each of the Debtors affirms that it has received and reconciled the monthly bank statements for all
  open and active bank accounts as of October 31, 2023. In addition to the Debtors’ open and active accounts, the Debtors also maintain one dormant account held by VVI
  Fulfillment Center, Inc. Due to account inactivity, this account is in escheat status and the Debtors are unable to access a bank statement as a result. In lieu of a bank
  statement, the Debtors have a list of transactions going back to December 2022 that includes the account balance and all activity.
  Supporting Documentation -

  Notes to Part 1: Cash Receipts and Disbursements and MOR Cash Flow attachment:
    The cash flow presented for Legacy IMBDS, Inc. is on a consolidated basis for all twelve Debtors for the period of October 1, 2023 through October 31, 2023. Cash
    balance end of month included in ‘Part 1: Cash Receipts and Disbursements’ reflects cash in the Debtors' bank accounts as of October 31, 2023. Cash balance in the
    Balance Sheet attachment reflects cash in the Debtors' bank accounts as of October 31, 2023. On a regular basis, Portal Acquisition Company, JWH Acquisition
    Company, and FL Acquisition Company's cash collections are collected into a Legacy IMBDS, Inc. bank account. These cash movements are captured on the Legacy
    IMBDS, Inc. MOR. Also, Legacy IMBDS, Inc. funds certain disbursements made on behalf of all other Debtors on a regular basis, which disbursements are captured
    on the Legacy IMBDS, Inc. MOR.
    The beginning and ending cash balances presented are the bank cash balance obtained from the Debtors' bank statements as of each date, these balances do not include
    the balances of petty cash held at retail store locations, which total approximately $60k. Disbursements activity reflects the book value of disbursement transactions that
    occurred during the period while the receipts amount is shown net of float and of any funds not yet received into the bank accounts as of month-end.

  Notes to MOR Part 2b: Accounts receivable over 90 days outstanding (net of allowance): Amounts listed reflect gross receivables; the Debtors do not specifically apply by
  customer an allowance to the balances outstanding over 90 days. Some accounts receivable related to the Debtors’ customers may be subject to downward adjustments
  due to reserves. Such adjustments are accounted for as “doubtful or uncollectible” accounts. Cash discount reserves, returns and allowance reserves, rebate reserves,
  volume trade discounts reserves, and pricing reserves are not reflected in the Debtors’ Account Receivable over 90 days balance. These amounts are estimated and are not
  assigned by customer. Inclusion of intercompany notes and payables in LSTC are reported by each Debtor.
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Notes to MOR Part 2m: Certain of the Debtors’ liability accounts subject to the Debtors’ first day motions related to customer programs, insurance obligations, taxes, and
employee wages and benefits have been categorized as Not Subject to Compromise (“NSTC”) pursuant to the relief provided in the orders approving such motions. These
balances include both liabilities incurred pre- and post-petition. LSTC balances reflect balance sheet amounts including debt issuance costs with respect to the unsecured
and secured debt. Reductions in Legacy IMBDS, Inc. accounts payable balance is due to certain cure payments made by IV Media, LLC (the "Buyer") on account of pre-
petition debt.


Notes to MOR Part 3: Pursuant to the Order (I) Authorizing the Sale of Substantially All of the Debtors’ Assets Free and Clear of All Encumbrances Other Than Assumed
Liabilities; (II) Approving the Debtors’ Entry into the Asset Purchase Agreement; (III) Authorizing Assumption and Assignment of Certain Executory Contracts and
Unexpired Leases; and (IV) Granting Related Relief [Docket No. 461] (the “Sale Order”) entered by the Court on August 15, 2023, the Buyer acquired substantially all of
the Debtors’ assets. On August 16, 2023, the Debtors filed the Notice of Closing of Sale Transaction and Assumption and Assignment of Executory Contracts and
Unexpired Leases [Docket No. 467] notifying, among other things, that the closing of the sale transaction approved by the Sale Order occurred on August 16, 2023. The
MORs reflect disbursements made by the Debtors’ estates only. All cash consideration being reflected on the Legacy IMBDS, Inc., et al. MORs are currently estimates
that are fully allocated to Legacy IMBDS, Inc. as Buyer has not yet provided a purchase price allocation.

Notes to MOR Part 7a: The Debtors have issued payments on pre-petition debt pursuant to certain interim and/or final first day orders. Please see attachment for a list of
such payments. The disbursements exclude payments related to insiders, which are separately disclosed in the Schedule of payments to insiders. Certain of the Debtors’
payments pursuant to first day orders related to customer programs, insurance, taxes and employee wages are not included in the listing of payments and are reported
separately pursuant to such orders.

Notes to MOR Part 7i: All of the Debtors are covered by the same insurance policies.
Notes to MOR Balance Sheet attachment:

  The Debtors’ consolidated financial statements that have been prepared for external reporting and other purposes contain other entries that are not reflected in the
  financial statements contained herein. Certain of the Debtors’ liability accounts subject to the Debtors’ first day motions related to customer programs, insurance
  obligations, taxes, and employee wages and benefits have been categorized as NSTC pursuant to the relief provided in the orders approving such motions. These
  balances include both liabilities incurred pre- and post-petition. LSTC balances reflect balance sheet amounts including debt issuance costs with respect to the
  unsecured and secured debt. Reported net operating losses are presented through tax year 2020.
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FL Acquisition Company
Statement of Cash Receipts and Disbursements
For the Period 10/1/2023 through 10/31/2023


                                                                                10/1/2023 - 10/31/2023
                                                                                 Amount ($ Thousands)
Operating Receipts

Customer Receipts, Net of Float                                             $                        -
Total Operating Receipts                                                    $                        -

Operating Disbursements
Material Costs & Freight                                                                             -
Payroll & Other Employee Cost                                                                        -
Facility/Office Expenses                                                                             -
Taxes                                                                                                -
Other Accounts Payable                                                                               -
  Total Operating Disbursements                                             $                        -
Operating Cash Flow                                                         $                        -
Interest - Pre / Adequate Protection                                                                 -
Interest / Fees-DIP                                                                                  -
Non-Operating Disbursements                                                                          -
Net Intercompany Transactions                                                                        -
Net Cash Flow (Usage)                                                       $                        -

Beginning Bank Cash Balance                                                                          -
Net Cash Flow                                                                                        -
Draws/(Paydowns)                                                                                     -
Ending Bank Cash Balance                                                    $                        -
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FL Acquisition Company
Balance Sheet
As of October 31, 2023(1)
 (In 000's of USD)

                                                                                     Oct-23
 ASSETS

     Cash and Cash Equivalents                                                  $                -
     Accounts Receivable                                                                         -
     Intercompany Receivable/(Payable)                                                           -
     Deposits and Prepaids                                                                       -
     Inventory                                                                                   -
     Inventory Reserve                                                                           -
     Current Broadcast Rights                                                                    -
     Income Tax Payable/Receivable                                                               -
     Total Current Assets                                                       $                -

     Property & Equipment                                                       $                -
     Accumulated Depreciation                                                                    -
     Intercompany Notes Receivable                                                               -
     Investment in Subsidiaries                                                                  -
     Intangibles                                                                                 -
     Broadcast Rights Intangible                                                                 -
     Exclusivity Agreement                                                                       -
     LT Deferred Tax Asset                                                                       -
     Tax Valuation Allowance                                                                     -
     Long Term Investments                                                                       -
     Deposits and Other Assets                                                                   -
     Total Assets                                                               $                -


     Accounts Payable                                                           $               346
     Accrued Liabilities                                                                        -
     Reserve for Returns                                                                        -
     Deferred Revenue Current                                                                   -
     Broadcast Rights Current                                                                   -
     Operating Lease                                                                            -
     Seller Notes Current                                                                       -
     Intercompany Receivable/(Payable)                                                        2,373
     Current Liabilities                                                        $             2,719


     LT Operating Lease                                                         $                -
     LT Broadcast Rights                                                                         -
     LT Obligation                                                                               -
     Total Liabilities                                                          $             2,719

     Shareholders Equity Total                                                  $             (2,719)

     Total Liabilities and Shareholders Equity                                  $                -
     (1)
           Excludes Intercompany amounts.
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FL Acquisition Company
Income Statement
For the Period 10/1/2023 through 10/31/2023
(In 000's of USD)
                                                                         October 1 through
                                                                         October 31, 2023



  Net Sales                                                          $                       -
        Total Cost of Sales                                          $                       -
  Gross margin                                                       $                       -
        Total Sales General and Administrative Expenses              $                       -
  Operating Profit (Loss)                                            $                       -
        Reorganization Items
        Restructuring Charges
        Total Non-Operating Expense
        Net interest expense
                                                                     $                       -
        Income Taxes
  Net Income (Loss)                                                  $                       -
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FL Acquisition Company
Accounts Receivable Aging
As of October 31, 2023
(In 000's of USD)

                                                  As per Aging Other Aging Adjustments Total Amount
   Not Due Amount                                 $          - $         - $         - $          -
   1 - 30 days                                               -           -           -          -
   31 - 60 days                                              -           -           -          -
   61 - 90 days                                              -           -           -          -
   >90 days                                                  -           -           -          -
   Total                                          $          - $         - $         - $          -
   Allowance for Doubtful Accounts                           -           -           -            -
   Reserves                                                  -           -           -            -

   Accounts receivable (total net of allowance)   $        - $         - $          - $          -
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FL Acquisition Company
Pre- and Post-petition Accounts Payable Aging Summary
As of October 31, 2023
(In 000's of USD)

                                                                                                  Total Post-
                                Pre-petition     Post-Petition   Adjustments      Total AP
                                                                                               Petition Amount
          Not Due Amount    $               - $              - $           - $             -   $              -
          1 - 30 days                  51,974                -             -          51,974                  -
          31 - 60 days                 34,649                -             -          34,649                  -
          >60 days                    259,868                -             -         259,868                  -


          Total             $         346,491 $              - $           - $       346,491 $                -
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FL Acquisition Company
Schedule of Payment to Insiders
For the Period 10/1/2023 through 10/31/2023


  Disbursement                                                                                Payment
                                 Payment To   Payment for the Benefit of   Type of Payment                      Notes        Source
      Date                                                                                      ($)
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FL Acquisition Company
Payments on Pre-Petition Debts
For the Period 10/1/2023 through 10/31/2023



          Date                    Vendor Name                  Payment Amount                  Debtor   Invoice Number   Description   Designation    Pay Type   Pay Location   Company   Source File Name




  Note: Disbursements made on behalf of this Debtor are disclosed on Legacy IMBDS, Inc. MOR.
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FL Acquisition Company
Schedule of Postpetition Borrowing
For the Period 10/1/2023 through 10/31/2023

   Drawdown Date          Lender         Loan Type       Amount ($)




Total                                                $                -
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FL Acquisition Company
Part 3 Summary
For the Period 10/1/2023 through 10/31/2023

This schedule provides additional detail for information summarized in Part 3 of the MOR. For each sale transition or transfer of property made during the reporting period the following information is required:

Description                                                                       Value     Notes
Date of the sale or transfer:                                                               8/16/2023
Description of the asset sold or transferred:                                               Substantially all assets except for assets of Portal Acquisition Company, excluding certain items for each Debtor
Gross sales price:                                                           $   56,634,170 Plus purchase price allocation by Debtor not yet received from Buyer
Payments made from the sale proceeds to or by third parties, if any:         $   44,234,257 Plus amounts reflect payments made by all Debtors
Net sale proceeds received on behalf of the estate, if any:                  $   12,399,913
